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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




 State of Colorado, et. al.,
 Plaintiffs,

 vs.                                                   Civil Action No. 20-cv-3715
                                                       Hon. Amit P. Mehta
 Google,
 LLC.
 Defendant.




                                     [PROPOSED] ORDER

Upon consideration of the Motion for Leave to File Brief of American Antitrust Institute as Amicus
Curiae in Support of Plaintiff States, it is HEREBY ORDERED that the Motion for Leave to File is
granted.

Dated:_________________                            _________________________________

                                                   The Honorable Amit P. Mehta
                                                   District Judge
